Filed 07/06/14                                    Case 09-90452                                              Doc 260


                                UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF CALIFORNIA
                                       CIVIL MINUTE ORDER


    Case Title :             DeLiddo and Associates, Inc.       Case No : 09−90452 − E − 7
                                                                Date :    6/26/14
                                                                Time :    10:30

    Matter :                 [252] − Motion/Application to Sell [CWC−9] Filed by Trustee Stephen C. Ferlmann
                             (rgaf)

    Judge :                  Ronald H. Sargis
    Courtroom Deputy :       Cecilia Jimenez
    Reporter :               Laura Fowler
    Department :             E

    APPEARANCES for :
    Movant(s) :
                Trustee's Attorney − Carl W. Collins
    Respondent(s) :
                Creditor's Attorney − Ronald Oliner repres. URS Corporation
    (by phone)  Interested Party − Oren Klein



                                                CIVIL MINUTE ORDER


    Findings of Fact and Conclusions of Law are stated in the Civil Minutes for the hearing.

    The Motion to Sell Property filed by Stephen C. Ferlmann, the Trustee having been presented to the court,
    and upon review of the pleadings, evidence, arguments of counsel, and good cause appearing,

    IT IS ORDERED that Stephen C. Ferlmann, the Trustee, is authorized to sell pursuant to 11 U.S.C. §
    363(b) to URS Corporation ("Buyer") or nominee, the Property described as the Judgment entered on
    February 13, 2012 in Adversary Proceeding No. 11−9017, Complaint to Recover Avoidable Transfers
    against Jack P. De Liddo, individually, in the amount of $1,738,045.77 ("Property"), on the following terms:

    1.The Property shall be sold to Buyer for $7,500.00 cash, which shall be paid within seven business days of
    the date of this order. The terms and conditions are set forth in the email correspondence for the period of
    March 5, 2015 through March 26, 2014, describing the terms of sale, (Exhibit A, Dckt. No. 255) and as
    further provided in this Order.

    2.The sale proceeds shall first be applied to closing costs and other customary and contractual costs and
    expenses incurred in order to effectuate the sale.

    3. The Trustee be, and hereby is, authorized to execute any and all documents reasonably necessary to
    effectuate the sale.



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    4.The court approves Oren Klein as the First Back−Up Buyer at a sales price of $7,000.00. If URS
    Corporation fails to pay the $7,500.00 within the seven day period, the Trustee shall give notice of the
    default to the First Back−Up Buyer, with a copy to URS Corporation, and the First Bank−Up Buyer shall
    have seven days from the notice of default to purchase the Property for $7,000.00 case on the same turns
    and conditions (other than the purchase price amount) as did URS Corporation.


              July 06, 2014
